            Case 3:04-cv-01109-JBA Document 375 Filed 07/29/11 Page 1 of 1


                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

FRANK RICCI, ET AL

      V.                                           CIVIL NO. 3:04cv1109(JBA)
JOHN DeSTEFANO, JR.
CITY OF NEW HAVEN
KAREN DuBOIS-WALTON
THOMAS UDE, JR.
TINA BURGETT
BOISE KIMBER
MALCOLM WEBBER
ZELMA TIRADO

                                            JUDGMENT

        This cause came on remand from the Second Circuit, before the Honorable Janet Bond
Arterton, U.S.D.J. On July 20, 2011, pursuant to Rule 68 of the Federal Rules of Civil
Procedure, the defendants John DeStefano, Jr., Karen DuBois-Walton, Thomas Ude, Jr., Boise
Kimber, Malcolm Webber, Zelma Tirado, and the City of New Haven made twenty individual
offers of judgment as to all claims be each plaintiff in this action, excepting their claims for
attorneys’ fees and costs, and a separate offer of judgment as to the attorneys’ fees and costs
for all plaintiffs.
        Therefore, pursuant to the judgments entered in favor of the plaintiffs and 42 U.S.C.
§§2000e-59(k) and 1988, it is hereby ORDERED and ADJUDGED that judgment is entered in
favor of the plaintiffs Michael Blatchley, Gregory Boivin, Gary Carbone, Michael Christoforo,
Ryan Divito, Steven Durand, William Gambardella, Brian Jooss, James Kottage, Matthew
Marcarelli, Thomas Michaels, Christopher Parker, Sean Vendetto, and Mark Vendetto against
defendants John DeStefano, Jr., Karen DuBois-Walton, Thomas Ude, Jr., Boise Kimber,
Malcolm Webber, Zelma Tirado, and the City of New Haven for attorney’s fees and costs
incurred for the prosecution of any and all claims brought in this suit.
        Pursuant to the defendants’ offer of judgment, the plaintiffs shall take and receive the total
sum of $3,000,000.00 in cash to be paid as follows: $1,200,000.00 by August 31, 2011 and
$1,800,000.00 by August 31, 2012.

       Dated at New Haven, Connecticut, this 29th day of July, 2011.
                                                            Robin D. Tabora, Clerk

                                                                  _______/s/_________
                                                                   Betty J. Torday
                                                                   Deputy Clerk
EOD______________
